Filing #Case
         127686442  E-Filed 05/27/2021 02:45:35 PM                *21-000244978*
                                                                                    *21-000244978*
             1:21-cv-22199-BB Document 1-2 Entered on FLSD Docket 06/15/2021 Page 1 of 1
                                                                                 EXHIBIT "2"


                                                                   CASE #:          2021-011281-CA-01
     ANA BRACHO
                                                                   COURT:           ELEVENTH JUDICAL CIRCUIT COURT
                                                                   COUNTY:          MIAMI-DADE
     PLAINTIFF(S)                                                  DFS-SOP #:       21-000244978

     VS.

     WESTERN WORLD INSURANCE COMPANY

     DEFENDANT(S)
     _______________________________________/
     SUMMONS,COMPLAINT,DISCOVERY




                               NOTICE OF SERVICE OF PROCESS
     NOTICE IS HEREBY GIVEN of acceptance of Service of Process by the Chief Financial Officer of the
     State of Florida.Said process was received in my office by ELECTRONIC DELIVERY on Tuesday,
     May 25,2021 and a copy was forwarded by ELECTRONIC DELIVERY on Thursday,May 27,2021 to
     the designated agent for the named entity as shown below.


              WESTERN WORLD INSURANCE COMPANY
              JOHN KYLE
              300 KIMBALL DRIVE
              PARSIPPANY ,NJ 07054




     *Our office will only serve the initial process(Summons and Complaint) or Subpoena and is not responsible
     for transmittal of any subsequent filings,pleadings,or documents unless otherwise ordered by the Court
     pursuant to Florida Rules of Civil Procedure,Rule #1.080




                                                                    Jimmy Patronis
                                                                    Chief Financial Officer



     cc to:


     CARLOS SANTI
     PROPERTY & CASUALTY LAW GROUP
     2307 DOUGLAS ROAD
     SUITE 302
     MIAMI, FL 33145                                                                                      JM1




                                      Office of the General Counsel - Service of Process Section
                         200 East Gaines Street - P.O. Box 6200 - Tallahassee, FL 32314-6200 - (850)413-4200
